            Case 1:13-cr-00109-LJO-SKO Document 40 Filed 09/26/13 Page 1 of 3



 1 BENJAMIN B. WAGNER
   United States Attorney
 2 KAREN A. ESCOBAR
   Assistant United States Attorney
 3 2500 Tulare St., Suite 4401
   Fresno, CA 93721
 4 Telephone: (559) 497-4000
   Facsimile: (559) 497-4575
 5
   Attorneys for Plaintiff
 6 United States of America

 7

 8                             IN THE UNITED STATES DISTRICT COURT

 9                                EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                           CASE NO. 1:13-CR-0109 LJO-SKO
12                                Plaintiff,
                                                         STIPULATION REGARDING
13                 v.                                    EXCLUDABLE TIME PERIODS
                                                         UNDER SPEEDY TRIAL ACT;
14   SERGIO PATRICK RODRIGUEZ, et al.,                   FINDINGS AND ORDER
15                                Defendants.
16
                                                STIPULATION
17
            Plaintiff United States of America, by and through its counsel of record, and defendant, by
18
     and through his counsel of record, hereby stipulate as follows:
19
20          1.      By previous order, this matter was set for a status conference and hearing on the

21 government’s motion on Monday, September 30, 2013, at 1:00 p.m.

22          2.      By this stipulation, the parties now move to continue the hearing date until October
23
     21, 2013, at 1:00 p.m. and to exclude time between September 30, 2013, and October 21, 2013.
24
            3.      The parties agree and stipulate, and request that the Court find the following:
25
            a.      Counsel for defendants desire additional time to investigate and engage in ongoing
26

27 plea negotiations. Counsel for defendant RODRIGUEZ has indicated that he wishes the government

28 to consider a counter-offer which will be forthcoming. Counsel for both defendants have expressed
                                                     1
29

30
            Case 1:13-cr-00109-LJO-SKO Document 40 Filed 09/26/13 Page 2 of 3


     an interest in obtaining an independent expert examination of the seized laser. Logistics are still
 1
     being worked out, since the expert is located in Philadelphia and the examination must conform with
 2

 3 FBI protocol.

 4          b.      Counsel for the government is unavailable on September 30 due to an unanticipated
 5 personal commitment.

 6
            c.      Based on the above-stated findings, the ends of justice served by continuing the case
 7
     as requested outweigh the interest of the public and the defendant in a trial within the original date
 8
     prescribed by the Speedy Trial Act.
 9

10          d.      For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161, et

11 seq., within which trial must commence, the time period of September 30, 2013, to October 21,

12 2013, inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) because it results

13 from a continuance granted by the Court at the parties’ request on the basis of the Court's finding

14
     that the ends of justice served by taking such action outweigh the best interest of the public and the
15
     defendant in a speedy trial.
16
            4.      Nothing in this stipulation and order shall preclude a finding that other provisions of
17

18 the Speedy Trial Act dictate that additional time periods are excludable from the period

19 within which a trial must commence.
20 IT IS SO STIPULATED.

21
     DATED:         September 24, 2013. Respectfully submitted,
22
                                           BENJAMIN B. WAGNER
23                                         United States Attorney
24
                                           /s/ Karen A. Escobar___________________
25                                         KAREN A. ESCOBAR
                                           Assistant United States Attorney
26

27 DATED:           September 24, 2013.
28
                                                        2
29

30
          Case 1:13-cr-00109-LJO-SKO Document 40 Filed 09/26/13 Page 3 of 3


                                      /s/ Dale Blickenstaff _____________
 1                                    DALE BLICKENSTAFF
                                      Counsel for Defendant Sergio Rodriguez
 2
     DATED:     September 24, 2013.
 3
                                      /s/ Janet Bateman _____________
 4                                    JANET BATEMAN
                                      Counsel for Defendant Jennifer Coleman
 5

 6
                                            ORDER
 7

 8
 9 IT IS SO ORDERED.

10
       Dated:   September 25, 2013                        /s/ Sheila K. Oberto
11                                               UNITED STATES MAGISTRATE JUDGE

12

13

14

15

16

17

18

19
20

21

22

23

24

25
26

27

28
                                                 3
29

30
